Case: 1:14-cv-09178 Document #: 158 Filed: 03/08/18 Page 1 of 6 PageID #:11957



                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF ILLINOIS

IN RE: TESTOSTERONE REPLACEMENT            CASE NO. 1:14-CV-01748
THERAPY PRODUCTS LIABILITY                 MDL 2545
LITIGATION
                                           JUDGE MATTHEW F. KENNELLY

                                           This Document Relates to:

                                           Mitchell v. AbbVie,
                                           Case No. 1:14-cv-09178




        DEFENDANTS’ MOTION AND SUPPORTING MEMORANDUM
           TO EXCLUDE CUMULATIVE EXPERT TESTIMONY
    Case: 1:14-cv-09178 Document #: 158 Filed: 03/08/18 Page 2 of 6 PageID #:11958



        The Court should exclude Dr. Pence’s testimony as cumulative under Federal Rule of

Evidence 403. Her testimony is redundant of, and consistently overlaps with, the testimony

offered by several other witnesses called by Plaintiff, including Dr. Kessler, Dr. Ardehali, Mr.

Wojtanowski, and Mr. Miller. 1

        Dr. Pence offers two general opinions, both of which are cumulative with testimony from

Plaintiff’s other witnesses. First, Dr. Pence opines that AbbVie did not adequately test

AndroGel for cardiovascular (CV) risk. See Konrad II Trial Tr. 2362:20–2363:5, attached hereto

as Exhibit A. This testimony recapitulates that of Dr. Ardehali, Dr. Kessler, Mr. Wojtanowski,

and Mr. Miller. See Ex. A at 1399:20–22 (Dr. Ardehali: “Q. That [kind of randomized clinical

trial] hadn’t been done by AbbVie by that point in time? A. That’s correct.”); id. at 748:7–22

(Dr. Kessler: “[W]hat it’s basically saying is not enough safety and efficacy done—actually, it’s

talking about safety particularly here . . . because FDA is saying . . . you will need to further

support the long-term safety of your product in the indicated population . . . especially in regard

to issues, long-term prostate and cardiac health.”); id. at 342:8–13 (Mr. Wojtanowski: “Q. [The

Food and Drug Administration (FDA)] shared concerns about cardiovascular safety of your drug,

right? A. Yes. Q. Because your cardiovascular safety had not been studied, right? A. Not

specifically, yes.”); id. at 1095:14–17 (Mr. Miller: “Q. So in the seven years that you said you

needed more study, you never once started that cardio—6,000-person cardiovascular outcome

study that you said was necessary, true? A. True.”).

        Second, Dr. Pence opines that AbbVie did not adequately warn of CV risk. See Ex. A at

2362:4–11. This testimony reiterates that of Dr. Ardehali, Mr. Wojtanowski, and Mr. Miller.

See Ex. A at 1402:14–17 (Dr. Ardehali: “If I was consulting a company, I would have told them

at that point [in 2007] there is enough here that something should be done. Patients should be
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    This memorandum provides significant examples of this overlap but is not intended to be exhaustive.
  Case: 1:14-cv-09178 Document #: 158 Filed: 03/08/18 Page 3 of 6 PageID #:11959



warned. Physicians should be warned.”); id. at 428:22–429:1 (Mr. Wojtanowski: “[Q. D]uring

this period of time from 2000 to 2010, the period of time before Mr. Konrad had his heart attack,

was there a heart attack warning in the label for AndroGel? A. No.”); id. at 1051:13–17 (Mr.

Miller: “Q. And, in fact, until the FDA implemented the advice from the advisory committee,

there was never any risk for—there was never any warning as to the heart attack risk in the

AndroGel label, true? A. Again, for heart attack, no.”).

       Moreover, Dr. Pence supports her two general opinions with specific testimony that

largely repeats testimony from other Plaintiff witnesses on more discrete subjects. First, both

Drs. Pence and Kessler testify in detail about the FDA’s drug approval process. They both

explain that a drug manufacturer must conduct “adequate and well-controlled” trials before

marketing a drug, that the trials must produce “substantial evidence” of safety and effectiveness

for the specific indication sought, that the manufacturer must submit first an Investigational New

Drug application (IND) and then a New Drug Application (NDA), that the manufacturer bears

primary responsibility for monitoring safety, that it must continue to monitor safety even after

approval, that the manufacturer must warn of newly identified risks, that it can do so through the

label, and that the manufacturer may go through the Change Being Effected (CBE) process to

update the label without prior FDA approval. See Ex. A at 2358:4–19, 2363:17–2373:14,

2383:14–20; id. at 705:13–708:13, 710:25–712:23, 753:11–21.

       Second, Dr. Pence, Dr. Kessler, Dr. Ardehali, Mr. Wojtanowski, and Mr. Miller all

describe purported deficiencies in AbbVie’s clinical trials for purposes of determining CV risk.

In particular, they discuss criticisms of AbbVie’s 017 preapproval study and 035 extension study

on the various overlapping grounds that the studies did not have a placebo control group, were

not blinded, relied on pharmacokinetic data, lacked sufficient power, and included signs of




                                                 2
  Case: 1:14-cv-09178 Document #: 158 Filed: 03/08/18 Page 4 of 6 PageID #:11960



potential CV risk. See Ex. A at 2383:21–2397:19; id. at 724:1–16, 738:10–740:6, 751:6–752:23;

id. at 1349:2–1352:8, id. at 304:13–307:5, 319:14–322:10; id. at 1013:3–1014:7.

       Third, Dr. Pence, Dr. Ardehali, Mr. Wojtanowski, and Mr. Miller all provide testimony

concerning whether AbbVie should have, but did not, conduct a large-scale CV outcomes study.

See Ex. A at 2402:8–2403:23, 2411:12–17; id. at 1399:5–22; 1429:18–23; id. at 295:7–21,

328:8–11, 342:8–343:3; id. at 1020:12–1021:1, 1041:14–1042:17, 1044:2–16.

       Fourth, Dr. Pence, Dr. Kessler, and Mr. Wojtanowski all testify about the alleged

insufficiency of the testing to establish AndroGel as an effective treatment for age-related

hypogonadism, as well as various related symptoms and conditions, such as erectile dysfunction,

fatigue, decreased sexual desire, worsened mood, and obesity-related hypogonadism. See Ex. A

at 2401:2–2402:3; id. at 747:19–748:22, 750:10–751:2, 752:24–753:10; id. at 323:11–327:2.

       Fifth, the same three witnesses testify that AbbVie could only market AndroGel for

indicated conditions and therefore could not promote it as a treatment for age-related

hypogonadism. See Ex. A at 2366:3–2367:2, 2403:25–2404:16; id. at 708:14–709:14, 715:24–

716:7, 744:21–746:6, 766:1–11; id. at 299:3–301:1, 318:9–13.

       Sixth, Drs. Pence and Ardehali both testify that reasonable evidence of causal association

between AndroGel and CV risk existed by 2007 such that AbbVie should have warned patients

and doctors about such a risk at that time. See Ex. A at 2362:12–17, 2404:17–2406:19, 2411:6–

2411:11; id. at 1302:6–8; 1402:4–19.

       Finally, Dr. Pence, Mr. Wojtanowski, Mr. Miller, and Dr. Kessler all testify about the

actions that the FDA took in 2015, identifying potential CV risk, changing the label, and

directing AbbVie to conduct further testing. See Ex. A at 2409:21–2411:5; id. at 282:4–292:16;

id. at 1016:6–1017:1, 1020:3–1021:5; id. at 742:21–743:10.




                                                 3
  Case: 1:14-cv-09178 Document #: 158 Filed: 03/08/18 Page 5 of 6 PageID #:11961



       Given the significant overlap between Dr. Pence’s testimony and that of the other

witnesses called by Plaintiff, the Court should exclude her testimony as cumulative.

Dated: March 8, 2018

                                                    Nathan E. Hoffman
By: /s/ David M. Bernick
                                                    Dechert LLP
    David M. Bernick
                                                    35 W. Wacker Dr., Suite 3400
    Paul, Weiss, Rifkind, Wharton &
                                                    Chicago, IL 60601-1608
    Garrison LLP
                                                    Tel: (312) 646-5800
    1285 Avenue of the Americas
                                                    nathan.hoffman@dechert.com
    New York, NY 10019-6064
    Tel: (212) 373-3000
                                                    Michelle Hart Yeary
    dbernick@paulweiss.com
                                                    Dechert LLP
   Counsel for AbbVie Inc.                          2929 Arch St., Cira Centre
                                                    Philadelphia, PA 19104-2808
                                                    Tel: (215) 994-4000
                                                    michelle.yeary@dechert.com

                                                    Counsel for AbbVie Inc. and
                                                    Abbott Laboratories




                                                4
  Case: 1:14-cv-09178 Document #: 158 Filed: 03/08/18 Page 6 of 6 PageID #:11962



                                  CERTIFICATE OF SERVICE

       I, David Bernick, hereby certify that on March 8, 2018, the foregoing document was filed

via the Court’s CM/ECF system, which will automatically serve and send email notification of

such filing to all registered attorneys of record.

                                                        /s/ David Bernick
                                                           David Bernick
